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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                                   Chapter 7

CAMBRIDGE ANALYTICA LLC                                                  Case No. 18-11500 (SHL)

                                     Debtor. 1



                                    SCHEDULES OF ASSETS AND LIABILITIES FOR
                                      CAMBRIDGE ANALYTICA LLC (18-11500)




                                                       
1
 The last four digits of the Debtor’s taxpayer identification number is 9713 and the address of its principal place of
business is 597 5th Avenue, New York, New York 10017.


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          GLOBAL NOTES REGARDING THE DEBTOR’S SCHEDULES
    OF ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

       The above-captioned debtor (the “Debtor”) is filing its Schedules of Assets and Liabilities

(each a “Schedule” and collectively, the “Schedules”) and Statements of Financial Affairs (each,

a “SOFA” and collectively, the “Statements”) pursuant to section 521 of title 11 of the United

States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy

Procedures (the “Bankruptcy Rules”). These Global Notes Regarding the Debtor’s Schedules of

Assets and Liabilities and Statements of Financial Affairs, including the specific notes set forth

below with respect to the Schedules and Statement (collectively, the “Global Notes”) are

incorporated by reference in, and comprise an integral part of, each of the Debtors’ Schedules,

sub-Schedules, Statements and sub-Statements, exhibits and continuation sheets, and should be

referred to and reviewed in connection with any review of the Schedules and Statements.

Disclosure of information in one Schedule, sub-Schedule, Statement, sub-Statement, exhibit or

continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct

Schedule, Statement, exhibit or continuation sheet.

       The Schedules, Statements and Global Notes should not be relied upon by any person

for information relating to current or future financial conditions, events, or performance of

the Debtor.

       The Debtors’ management prepared the Schedules and Statements with the assistance of

its advisors. The Schedules and Statements are unaudited. In addition, several of the computer

servers (the “Servers”) containing the vast majority of the Debtor’s financial and other records

that were located and maintained at the London offices of the Debtor’s affiliates in the United

Kingdom (the “UK”) that are currently in administration proceedings in the UK, were seized by




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the Information Commissioner’s Office of the UK (the “ICO”) on or about March 23, 2018.

Despite its efforts, the Debtor has been unable to obtain the Servers from the ICO. Without access

to the records and information contained on the Servers, the Debtor’s ability to provide complete

and accurate Statements and Schedules has been significantly inhibited.             The Debtor’s

management and advisors have made every reasonable effort to ensure that the Schedules and

Statement are as accurate and complete as possible under the circumstances based on the

information that was available to them at the time of preparation; however, subsequent information

or discovery may result in material changes to the Schedules and Statement and inadvertent errors

or omissions may exist or have occurred. For the foregoing reasons, including the lack of access

to necessary financial and other records and the fact that the Schedules and Statements contain

unaudited information, which is subject to further review, verification and potential adjustment,

there can be no assurance that the Schedules and Statements are accurate and/or complete. The

Debtor may, but shall not be required to, update the Schedules and Statement as a result of the

discovery of any errors or omission or new information.

       The Debtor has made reasonable efforts to, among other things, identify, disclose,

characterize, classify, categorize and/or designate the claims, assets, liabilities, obligations,

transfers, payments, income, executory contracts, unexpired leases and other items reported in the

Schedules and Statements correctly. However, as discussed herein, given the lack of access to the

Servers and the records and information contained therein pertaining to the Debtor, the Debtor

may not have identified and included all of the information required by the Statements and

Schedules and may have improperly characterized, classified, categorized and/or designated one

or more of the items on the Statements and/or Schedules. In addition, certain items reported in the

Schedules and Statements could be included in more than one category. In those instances, one



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category has been chosen to avoid duplication. Further, the designation of a category is not meant

to be wholly inclusive or descriptive of the rights or obligations represented by such item.

       The Debtor reserves all rights to amend the Schedules, Statements and the Global Notes

from time to time, in all respects, as may be necessary or appropriate, including, but not limited to,

the right to dispute or otherwise assert offset or defenses to any claim reflected on the Schedules

and Statement as to amount, liability or classification, or to otherwise subsequently designate any

claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the

Schedules and Statements or the Global Notes shall constitute an admission or waiver of rights

with respect to the Debtor’s chapter 7 case, including, without limitation, with respect to any issues

involving any causes of action arising under the provisions of chapter 5 of the Bankruptcy Code

and other relevant non-bankruptcy laws to recover assets or avoid transfers.

        1.   Description of the Cases. On May 17, 2018 (the “Petition Date”), the
             Debtor commenced a voluntary case under chapter 7 of the Bankruptcy
             Code before this Court (the “Bankruptcy Court”). On May 7, 2018,
             Salvatore LaMonica was appointed as the chapter 7 Trustee (the “Chapter
             7 Trustee”).

        2.   Methodology and Limitations.

                 a. Reporting Date. All asset and liability information, except where
                    otherwise noted, is provided as of the Petition Dates.

                 b. Basis of Presentation. The Schedules and Statement do not purport
                    to represent a financial statement prepared in accordance with
                    Generally Accepted Accounting Principles in the United States
                    (“GAAP”), nor are they intended to be fully reconciled with the
                    financial statement of the Debtor. Additionally, the Schedules and
                    Statement contain unaudited information that is subject to further
                    review and potential adjustment, and reflect the Debtor’s reasonable
                    efforts to report the assets and liabilities of the Debtor.

                 c. Confidential Information. In certain limited instances in the
                    Schedules and Statement, the Debtor has deemed it necessary and
                    appropriate to redact from the public record information such as
                    names, addresses, or amounts. The Debtor have generally used this
                    approach because of an agreement between the Debtor and a third


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                    party, concerns of confidentiality, or concerns for the privacy of an
                    individual. Copies of the unredacted information will be provided
                    to the Chapter 7 Trustee, the Office of the United States Trustee for
                    the Southern District of New York, and any parties in interest who
                    have a reasonable basis for review of such information.

               d. Estimates and Assumptions. The preparation of the Schedules and
                  Statements required the Debtor to make estimates and assumptions
                  that affected the reported amounts of certain assets and liabilities,
                  the disclosure of certain contingent assets and liabilities and the
                  reported amounts of revenue and expense. Actual results could differ
                  materially from these estimates.

               e. Net Book Value of Assets. The Debtor does not have current market
                  valuations for its assets. It would be prohibitively expensive, unduly
                  burdensome, and an inefficient use of estate resources for the Debtor
                  to obtain current market valuations for its assets. Wherever possible
                  or available based on the information that was in the Debtor’s
                  possession, unaudited net book values as of the Petition Date are
                  presented. When necessary, the Debtor has indicated that the value
                  of certain assets is “Unknown”. Amounts ultimately realized may
                  vary materially from net book value (or whatever value was or may
                  be ascribed). Accordingly, the Debtor reserves all rights to amend,
                  supplement, or adjust the asset values set forth in the Schedules and
                  Statement.

               f. Unknown Amounts. The description of an amount as “Unknown”
                  is not intended to reflect upon the materiality of such amount.
                  Certain amounts may be clarified during the course of the chapter 7
                  case.
 
               g. Totals. All totals that are included in the Schedules and Statements
                  represent totals of all known amounts based on information
                  available to the Debtor. To the extent there are unknown or
                  undetermined amounts, the actual totals may be different than the
                  listed totals.

               h. Liabilities. Unless otherwise indicated, all liabilities are listed as of
                  the Petition Date. Some of the scheduled liabilities are unknown,
                  contingent and/or unliquidated at this time. In such cases, the
                  amounts are listed as “Unknown”. Accordingly, the Schedules and
                  Statements may not equal the aggregate value of the Debtor’s total
                  liabilities as noted on any previously issued finance statements.

               i.   Contingent Assets and Causes of Action. Despite their reasonable
                    efforts to identify all known assets, the Debtor may not have listed
                    all of its causes of action or potential causes of action against third


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                    parties as assets in its Schedules and Statements, including, but not
                    limited to, avoidance actions arising under chapter 5 of the
                    Bankruptcy Code and actions under other relevant non-bankruptcy
                    laws to recover assets. The Debtor reserves all of their rights with
                    respect to any claims, causes of action, or avoidance actions it may
                    have, and neither these Global Notes nor the Schedules and
                    Statements shall be deemed a waiver of any such claims, causes of
                    actions, or avoidance actions or in any way prejudice or impair the
                    assertion of such claims. The Debtors may also possess contingent
                    and unliquidated claims against affiliated entities (both Debtor and
                    non-Debtor) for various financial accommodations and similar
                    benefits they have extended from time to time, including, but not
                    limited to, contingent and unliquidated claims for contribution,
                    reimbursement, and/or indemnification arising from various (i)
                    guarantees, (ii) indemnities, (iii) tax sharing agreements, (iv)
                    warranties, (v) operational and servicing agreements, (vi) shared
                    service agreements and (vii) other arrangements.

               j.   Currency. All amounts shown in the Schedules and Statement are
                    in U.S. Dollars, unless otherwise indicated.

               k. Estimates and Assumptions. The preparation of the Schedules and
                  Statements required the Debtor to make estimates and assumptions
                  that affected the reported amounts of certain assets and liabilities,
                  the disclosure of certain contingent assets and liabilities and the
                  reported amounts of revenue and expense. Actual results could differ
                  materially from these estimates.

               l.   Totals. All totals that are included in the Schedules and Statements
                    represent totals of all known amounts. To the extent there are
                    unknown or undetermined amounts, the actual totals may be
                    different than the listed totals.

               m. Asset Presentation and Valuations. The Debtor’s assets are
                  presented at values consistent with their books and records to which
                  the Debtor has access. Generally speaking, for assets that are valued
                  at fair value or the lower of cost or fair value, the Debtor valued
                  these assets using modeling techniques currently used in the industry
                  and uses market based information to the extent possible in these
                  valuations. These values do not purport to represent the ultimate
                  value that would be received in the event of a sale, and may not
                  represent economic value as determined by an appraisal or other
                  valuation technique. As it would be prohibitively expense and an
                  inefficient use of estate assets for the Debtor to obtain current
                  economic valuations for all of its assets, the carrying value on the
                  Debtor’s books, rather than current economic values is reflected on



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                                    the Schedules and Statements.
 
                              n. Intercompany Transfers. The listing in the Schedules or Statement
                                 by the Debtor of any obligation between a Debtor and another
                                 Debtor or non-Debtor affiliate is a statement of what appears in the
                                 Debtor’s books and records that are available to the Debtor, and does
                                 not reflect any admission or conclusion of the Debtor regarding
                                 whether such amount should be allowed as a claim or how such
                                 obligations may be classified and/or characterized by the Bankruptcy
                                 Court or otherwise. Moreover, given the Debtor’s lack of access to
                                 the Servers containing relevant records and information, the
                                 Statements and Schedules may not include a complete or accurate
                                 information regarding the intercompany transactions between the
                                 Debtor and any affiliate of the Debtor. To the extent the Debtor is
                                 able to regain access to the Servers and reconcile the information
                                 contained therein related to intercompany transactions, the Debtor
                                 may amend the relevant Schedules and Statements accordingly.

                              o. Setoff. Prior to the Petition Dates, and in the ordinary course of their
                                 businesses, the Debtor may have incurred setoffs in connection with,
                                 among other things, intercompany and third-party transactions.
                                 Unless otherwise stated, to the extent any setoffs were incurred in
                                 the ordinary course or under customary practices, they are not listed
                                 in the Schedules and Statements and the Debtor has not intentionally
                                 offset amounts listed on Schedules A/B, D or E/F. Nonetheless,
                                 some amounts listed may have been affected by setoffs of which the
                                 Debtor is are not yet aware. The Debtor reserves all rights to
                                 challenge any setoff and/or recoupment rights that may be asserted.

                              a. Insiders. For purposes of the Schedules and Statements, the Debtor
                                 has listed its officers and directors to the extent available based on
                                 current records available to the Debtor.2 Further, for purposes of the
                                 Schedules and Statements, the Debtor defines insiders (in
                                 accordance with in section 101(31) of the Bankruptcy Code) as the
                                 Debtor’s (a) current and former directors; (b) current and former
                                 senior level officers; (c) persons in control of the Debtor; (d)
                                 relatives of each of the foregoing; (e) affiliates of the Debtor,
                                 including equity holders holding 20% or more of the Debtor’ voting
                                 securities and corporations of which the Debtor (or their major
                                 equity holders) hold 20% or more of voting securities; and (f)
                                 insiders of such affiliates, all to the extent known to the Debtor
                                 (each, an “Insider”). Persons listed as Insiders have been included
                                                       
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  On April 27, 2018, Anaxi Solutions Inc., a former subsidiary of the Debtor, merged with the Debtor, leaving the
Debtor as the surviving entity. Accordingly, for purposes of the Schedules and Statements, the Debtor has only listed
its officers and directors (and made the necessary disclosures relating thereto) and not of any entity that was merged
into the Debtor prior to the Petition Date.


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                   for information purposes only. The Debtor does not take any
                   position with respect to (a) such person’s influence over the control
                   of the Debtor; (b) the management responsibilities or functions of
                   such individual; (c) the decision-making or corporate authority of
                   such individual; or (d) whether such individual could successfully
                   argue that he or she is not an “insider” under applicable law,
                   including the federal securities laws, or with respect to any theories
                   of liability or for any other purpose.

       3.   Debtor’s Reservation of Rights. Nothing contained in the Schedules,
            Statements, or the Global Notes shall constitute an admission or waiver of
            rights with respect to this chapter 7 case, including, without limitation, any
            issues involving equitable subordination, characterization or
            recharacterization of contracts or claims, assumption or rejection of
            executory contracts or unexpired leases under the provisions of chapter 3 of
            the Bankruptcy Code and causes of action arising under the provisions of
            chapter 5 of the Bankruptcy Code or any applicable non-bankruptcy laws to
            recover assets or avoid transfers.

               a. Any failure to designate a claim listed on the Schedules as
                  “disputed,” “contingent,” or “unliquidated” does not constitute an
                  admission by the Debtor that such amount is not “disputed,”
                  “contingent,” or “unliquidated.” The Debtor reserves the right to
                  dispute, or to assert setoff rights, counterclaims, or defenses to any
                  claim reflected on its Schedules as to the nature, amount, liability,
                  status, classification, or to amend the Schedules and Statement to
                  subsequently designate any claim as “disputed,” “contingent,” or
                  “unliquidated.”

               b. Listing a claim on the Schedules as “secured”, “priority”, or
                  “unsecured priority”, or listing a contract or lease as “executory” or
                  “unexpired”, does not constitute an admission by the Debtor of the
                  legal rights of the claimant and/or a contractual counterparty, or a
                  waiver of the Debtor’s rights to reclassify or recharacterize such
                  claim or contract. Moreover, although the Debtor may have
                  scheduled claims of various creditors as secured claims for
                  informational purposes, no current valuation of the Debtor’s assets
                  in which such creditors may have a lien has been undertaken. The
                  Debtor reserves all rights to dispute or challenge the secured nature
                  of any such creditor’s claims or the characterization of the structure
                  of any transaction, or any document or instrument related to such
                  creditor’s claim.

               c. The inclusion on Schedule D of any creditors that have asserted liens
                  against the Debtors is not an acknowledgement of the validity, extent
                  or priority of any such liens, and the Debtors reserve their right to
                  challenge such liens and the underlying claims on any ground


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                  whatsoever. Reference to the applicable agreements and other
                  relevant documents is necessary for a complete description of the
                  collateral and the nature, extent and priority of any liens. Nothing in
                  these Global Notes or the Schedules and Statements shall be deemed
                  a modification or interpretation of the terms of such agreements.
                  Certain liens may have been inadvertently marked as disputed but
                  had previously been acknowledged in an order of the Court as not
                  being disputed by the Debtors. It is not the Debtor’s intent that
                  Schedules be construed to supersede any orders entered by the
                  Bankruptcy Court.
                   
               a. Although the Debtor has made reasonable efforts to ensure the
                  accuracy of its Schedules and Statements, inadvertent errors,
                  omissions, or inclusions may have occurred. The Debtor reserves all
                  of its rights to dispute the validity, status, or enforceability of any
                  contracts, agreements, or leases set forth on the Schedules and
                  Statements and to amend further or supplement the Schedules and
                  Statement as necessary.

               b. The Debtor further reserves all of its rights, claims, and causes of
                  action with respect to the contracts and agreements listed on the
                  Schedules and Statements, including the right to dispute or challenge
                  the characterization or the structure of any transaction, document, or
                  instrument related to a creditor’s claim. The placing of a contract or
                  lease onto the Schedules shall not be deemed an admission that such
                  contract is an executory contract or unexpired lease, or that it is
                  necessarily a binding, valid, and enforceable contract. The Debtor
                  expressly reserves the right to assert that any contract listed on the
                  Schedules does not constitute an executory contract within the
                  meaning of section 365 of the Bankruptcy Code.

               c. The Debtor used its reasonable efforts to locate and identify
                  guarantees and other secondary liability claims (the “Guarantees”)
                  in their executory contracts, unexpired leases, secured financings,
                  debt instruments and other agreements. Where such Guarantees
                  have been identified, they are included in the relevant schedule. The
                  Debtor placed Guaranty obligations on Schedule H for both the
                  primary obligor and the guarantor of the relevant obligation.
                  Guarantees embedded in the Debtor’s executory contracts,
                  unexpired leases, secured financings, debt instruments and other
                  agreements may have been inadvertently omitted. Thus, the Debtor
                  reserves its rights to amend or supplement the Schedules to the
                  extent that additional Guarantees are identified. In addition, the
                  Debtor reserves the right to amend the Schedules and Statement to
                  recharacterize or reclassify any such contract or claim.

               d. In the ordinary course of business, the Debtor leased facilities and/or


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                    equipment from certain third-party lessors for its use in its daily
                    operations. Any such leases are set forth in Schedule G. The
                    property subject to any of such leases is not reflected in either
                    Schedule A or Schedule B as either owned property or assets of the
                    Debtor. Neither is the property subject to any such leases reflected
                    in the Statements as property or assets of third-parties within the
                    control of the Debtor. Nothing in the Schedules is or shall be
                    construed as an admission or determination as to the legal status of
                    any lease (including whether any lease is a true lease or a financing
                    arrangement), and the Debtor reserves all rights with respect to any
                    such issues.

                 Specific Notes Regarding the Debtor’s Schedules of Assets and Liabilities

       In addition to the foregoing, the following conventions were adopted by the Debtor in the

preparation of the Schedules and Statements:

           1. Schedule A/B.

                a. Generally. To the extent a line item pertaining to the Debtor’s assets
                   indicates a value of “$0.00,” Debtor notes that such amount is either
                   “unknown” or “undetermined” and such “$0.00” designation does
                   not constitute an admission that assets are, in fact, valued at “$0.00.”
                   Because certain assets or liabilities are noted as “$0.00,” summary
                   line items in Schedule A/B reflect totals that may be less than the
                   ultimate value of such assets or liabilities. Furthermore, due to the
                   seizure of the Servers by the ICO, the Debtor has been unable to
                   quantify the value of certain assets included on Schedule A/B,
                   including its office furniture, fixtures, and equipment.

                b. Schedule A/B, Items 1-9. Unless otherwise noted, the amounts
                   shown are based on closing account balances or amounts on
                   deposit/prepaid as of the Petition Date.

                c. Schedule A/B, Item 38. The value of office furniture, fixtures,
                   equipment and collectibles is unknown on a per item basis because
                   the asset register was seized by the ICO. The net book value of all
                   fixed assets has been discounted by seventy (70%) percent to
                   estimate a current total value.

                d. Schedule A/B, Items 60-64. The omission of any patent, trademark,
                   copyright, trade secret or other intellectual property from Schedule
                   A/B Items 60-64 does not constitute a waiver of any such patent,
                   trademark, copyright, trade secret or other intellectual property.



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               e. Schedule A/B, Item 72. The omission of any tax refund or net
                  operating loss from Schedule A/B Item 72 does not constitute a
                  waiver of any tax refund or net operating loss.

               f.    Schedule A/B, Items 74 and 75. The omission of any counterclaim,
                     claim, or cause of action from Schedule A/B Items 74 and 75 does
                     not constitute a waiver of any such counterclaim, claim, or cause of
                     action. As previously described, to the extent a line item pertaining
                     to the Debtor’s assets indicates a value of “$0.00,” the Debtor notes
                     that such amount is either “unknown” or “undetermined” and such
                     “$0.00” designation does not constitute an admission that assets are,
                     in fact, valued at “$0.00.”

          2. Schedule D.

                    a. Based on the information currently available to the Debtor, the
                       Debtor does not believe that there are any creditors with secured
                       claims against the Debtor. To the extent the Debtor discovers
                       that any such claims exist, the Debtor may amend the Schedule
                       D accordingly to reflect such claims.

                    b.

                    c. Except as specifically stated herein, real property lessors, utility
                       companies and other parties that may hold security deposits may
                       not have been listed on Schedule D.

                    d. The Debtor reserves all of its rights to amend Schedule D to the
                       extent that the Debtor determines that any claims associated with
                       such agreement should be reported on Schedule D. Nothing
                       herein shall be construed as an admission by the Debtor of the
                       legal rights of the claimant, deemed a modification or
                       interpretation of the terms of such agreements, or considered a
                       waiver of the Debtor’s rights to recharacterize or reclassify such
                       claim or contract.

                    e. Moreover, the Debtor has not included on Schedule D parties that
                       may believe their claims are secured through setoff rights or
                       inchoate statutory lien rights.

                    f.   Except as otherwise agreed or ordered by the Bankruptcy Court,
                         the Debtor reserves its rights to dispute or challenge the validity,
                         perfection or immunity from avoidance of any lien purported to
                         be granted or perfected in any specific asset of a secured creditor
                         of the Debtor. Moreover, the Debtor reserves all of its rights to
                         dispute or challenge the secured nature of any such creditor’s
                         claim or the characterization of the structure of any such


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                    transaction or any document or instrument related to such
                    creditor’s claim.

          3. Schedule H

                 a. The Debtors may not have identified certain guarantees
                    associated with the Debtors’ executory contracts, unexpired
                    leases, secured financings, debt instruments, and other such
                    agreements. The Debtors reserve all of their rights to amend the
                    Schedules to the extent that additional guarantees are identified
                    or such guarantees are discovered to have expired or be
                    unenforceable.
                 b. In the ordinary course of their businesses, the Debtors may be
                    involved in pending or threatened litigation. These matters may
                    involve multiple plaintiffs and defendants, some or all of whom
                    may assert cross-claims and counter-claims against other parties.
                    Because all such claims are contingent, disputed and/or
                    unliquidated, such claims have not been set forth individually on
                    Schedule H.

          4. Schedule E/F

                 a. The Debtor has used reasonable efforts to report all unsecured
                    claims against the Debtor on Schedule E/F based upon the
                    Debtor’s existing books and records that were in Debtor’s
                    possession or to which the Debtor had access as of the Petition
                    Date. The claims listed on Schedule E/F arose or were incurred
                    on various dates. In certain instances, the date on which a claim
                    arose is an open issue of fact. Although reasonable efforts have
                    been made to identify the date of incurrence of each claim,
                    determination of the date that each claim in Schedule E/F was
                    incurred or arose would be unduly burdensome and cost
                    prohibitive. Additionally, due to the seizure of the Servers by the
                    ICO, the Debtor has been unable determine the precise date that
                    certain of the claims set forth on Schedule E/F arose. Therefore,
                    while the Debtor does not list a date for each claim listed on
                    Schedule E/F, to the best of the Debtor’s knowledge, all claims
                    listed on Schedule E/F have arisen or were incurred before the
                    Petition Date.

                 b. The Debtor reserves the right to assert any such claims are
                    contingent, unliquidated and/or disputed, as applicable.

                 c. The Debtor reserves the right to assert that any claim listed on
                    Schedule E/F does not constitute a priority claim under section
                    507 of the Bankruptcy Code and thus constitutes an unsecured


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                        nonpriority claim.

                   d. Schedule E/F does not include certain balances including
                      deferred liabilities, accruals, or general reserves. Such accruals
                      primarily represent general estimates of liabilities and do not
                      represent specific claims as of the Petition Date. The Debtor has
                      made reasonable efforts to include as contingent, unliquidated
                      and/or disputed the claim of any party not included on the
                      Debtor’s open accounts payable that is associated with an account
                      that has accrual or receipt not invoiced.
 
                   e. The claims of individual creditors may not reflect credits and/or
                      allowances due from creditors to the Debtor. The Debtor reserves
                      all of its rights with respect to any such credits and/or allowances,
                      including the right to assert objections and/or setoffs with respect
                      to same.

                   f.   Schedule E/F does not include pending litigations or legal actions
                        involving the Debtor. However, these are reflected in response
                        to Question 7 in the Statements. In all instances, the amount that
                        is the subject of the litigation is uncertain or undetermined. The
                        Debtors believe that the amount of any potential claims
                        associated with any such pending litigation is contingent,
                        unliquidated, and disputed. The inclusion of any litigation in the
                        Statements or otherwise does not constitute an admission of
                        liability alleged in such litigation.

                   g. To the extent they are known, Schedule E/F represents the
                      prepetition amounts owing to counterparties to executory
                      contracts and unexpired leases. Such prepetition amounts,
                      however, may be paid in connection with the assumption or the
                      assumption and assignment of an executory contract or unexpired
                      lease. Additionally, Schedule E/F does not include potential
                      rejection damage claims, if any, of the counterparties to
                      executory contracts and unexpired leases that may be rejected.

          5. Schedule G.

               Although the Debtor’s existing records and information systems to which
               the Debtor has access have been relied upon to identify and schedule
               executory contracts and unexpired leases and reasonable efforts have been
               made to ensure the accuracy of Schedule G, inadvertent errors or
               omissions may have occurred. The Debtor reserves all rights to dispute
               the validity, status, or enforceability of any contracts, agreements, or
               leases set forth in Schedule G and to amend or supplement Schedule G as
               necessary. The contracts, agreements and leases listed therein may have
               expired or been modified, amended, or supplemented from time to time


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               by various amendments, restatement, waivers, estoppel certificates,
               letters, memoranda and other documents, instruments, and agreements
               which may not be listed therein. Moreover, due to the seizure of the
               Servers by the ICO, the Debtor may not have access to all of its contracts
               and leases and the Schedules and Statements reflect only the contracts and
               leases to which the Debtor has access.

         a. The presence of a contract or agreement on Schedule G does not constitute
            an admission as to the existence, validity or enforceability of the contract
            or agreement, or that such contract or agreement is an executory contract or
            unexpired lease, and the omission of a contract or agreement from
            Schedule G does not constitute an admission that a contract or agreement
            does not exist. The Debtor reserves all rights, claims, and causes of action
            with respect to the contracts and agreements listed on Schedule G,
            including the rights to dispute or challenge the characterization or the
            structure of any transaction document or instrument. Certain executory
            agreements may not have been memorialized in writing and could be
            subject to dispute.

               Specific Notes Regarding the Debtor’s Statement of Financial Affairs

          1. Statement Question 1. The Debtor has used reasonable efforts to state the
             revenue correctly without having access to full records due to the ICO’s
             seizure of the Servers containing the relevant records and information
             reflecting such information.

          2. Statement Questions 3 and 4. Due to the seizure of the Servers by the
             ICO, for purposes of Questions 3 and 4 the Debtor has listed those payments
             and transfers based on the records to which it has access. There may be
             other payments and transfers made to parties or during the periods reflected
             in these questions that are not reflected in the responses thereto because the
             Debtor does not have access to the relevant records and information to
             identify such payments and transfers.

          3. Statement Question 7. The Debtor has made reasonable best efforts to
             identity all current pending litigation, investigation and other legal actions
             involving the Debtor. However, certain omissions may have occurred. The
             inclusion of any legal action in this question does not constitute an
             admission by the Debtor of any liability, the validity of any litigation or the
             amount of any potential claim that may result from any claims with respect
             to any legal action and the amount and treatment of any potential claim
             resulting from any legal action currently pending or that may arise in the
             future.

          4. Statement Question 25. As noted herein, prior to the Petition Date, on
             April 27, 2018, the former subsidiaries of the Debtor, Anaxi Solutions Inc.,
             Cambridge Analytica Political LLC and Cambridge Analytical Commercial


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               LLC, were merged with the Debtor, with the Debtor remaining as the
               surviving entity, and, therefore, these entities no longer exist and the Debtor
               had no subsidiaries as of the Petition Date. Nevertheless, out of an
               abundance of caution the Debtor has listed these entities as entities in which
               it had an interest.

          5. Statement Questions 28 and 29. The Debtor has made reasonable best
             efforts to list the known current and former officers and directors of the
             Debtor on a review of available books and records and other available
             information which may not be complete and updated as of the Petition
             Date. In addition, give the seizure of the Servers and the relevant records
             contained therein, the Debtor does not have access to the information
             necessary to provide a complete response to these questions. As such,
             there may be inadvertent errors or omissions for the Statement in
             Questions 28 and 29 due to these limitations.




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              18-11500-shl                       Doc 11                Filed 05/31/18                    Entered 05/31/18 23:56:11                                            Main Document
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 Fill in this information to identify the case:

                 Cambridge Analytica _____
 Debtor name ____________________________ LLC _____ _____ ______ _____ _____ _____ _

                                             Southern
 United States Bankruptcy Court f or the: _______________________             New York
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):                  18-11500
                                      _________________________


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                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                  8QNQRZQ
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               465,412.56
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                  465,412.56
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................
                                                                                                                                                                                                   0.00
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                     0.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +     8,789,291.89
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  8,789,291.89
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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Schedule A/B: Assets — Real and Personal Property                                                                                                            

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WKH GHEWRU KROGVULJKWVDQGSRZHUVH[HUFLVDEOHIRUWKHGHEWRU
V RZQEHQHILW $OVRLQFOXGH DVVHWVDQG SURSHUWLHVZKLFK KDYH QRERRN YDOXH VXFKDVIXOO\ GHSUHFLDWHG
DVVHWVRUDVVHWVWKDW ZHUHQRWFDSLWDOL]HG,Q6FKHGXOH $%OLVWDQ\ H[HFXWRU\FRQWUDFWVRU XQH[SLUHG OHDVHV $OVR OLVW WKHP RQ Schedule G: Executory Contracts and
Unexpired Leases 2IILFLDO)RUP*

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DQGFDVH QXPEHULINQRZQ $OVRLGHQWLI\ WKHIRUPDQGOLQHQXPEHU WR ZKLFKWKHDGGLWLRQDOLQIRUPDWLRQ DSSOLHV,I DQ DGGLWLRQDOVKHHW LVDWWDFKHGLQFOXGH WKH
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Part 1:     Cash and cash equivalents

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Part 2:     Deposits and prepayments

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Part 3:    Accounts receivable

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Part 4:    Investments

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Part 5:     Inventory, excluding agriculture assets

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Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

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 )DUPPDFKLQHU\DQGHTXLSPHQW2WKHUWKDQWLWOHGPRWRUYHKLFOHV
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

 )DUPDQGILVKLQJVXSSOLHVFKHPLFDOVDQGIHHG

   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

 2WKHUIDUPLQJDQGILVKLQJUHODWHGSURSHUW\QRWDOUHDG\OLVWHGLQ3DUW
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP$%                                      6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                            SDJH 
           18-11500-shl           Doc 11         Filed 05/31/18         Entered 05/31/18 23:56:11 Main Document
               &DPEULGJH$QDO\WLFD//&                                                                    
'HEWRU                                                              Pg 20 of 34
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH
                                                                                    &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




 7RWDORI3DUW
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 ,VWKHGHEWRUDPHPEHURIDQDJULFXOWXUDOFRRSHUDWLYH"

     1R
     <HV,VDQ\RIWKHGHEWRU¶VSURSHUW\VWRUHGDWWKHFRRSHUDWLYH"
       1R
       <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQSXUFKDVHGZLWKLQGD\VEHIRUHWKHEDQNUXSWF\ZDVILOHG"

     1R
     <HV%RRNYDOXHBBBBBBBBBBBBBBB9DOXDWLRQPHWKRGBBBBBBBBBBBBBBBBBBBB&XUUHQWYDOXHBBBBBBBBBBBBBBBB
 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"

     1R
     <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"

     1R
     <HV

Part 7:    Office furniture, fixtures, and equipment; and collectibles

 'RHVWKHGHEWRURZQRUOHDVHDQ\RIILFHIXUQLWXUHIL[WXUHVHTXLSPHQWRUFROOHFWLEOHV"

     1R *RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ
     ✔




   *HQHUDOGHVFULSWLRQ                                                      1HWERRNYDOXHRI     9DOXDWLRQPHWKRG         &XUUHQWYDOXHRIGHEWRU¶V
                                                                             GHEWRU
VLQWHUHVW    XVHGIRUFXUUHQWYDOXH   LQWHUHVW
                                                                             :KHUHDYDLODEOH

 2IILFHIXUQLWXUH
   'HVNV FKDLUV WDEOHV VRIDV HWF
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB      See Global Notes

 2IILFHIL[WXUHV
   9DULRXV IL[WXUHV
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB      See Global NotesBB

 2IILFHHTXLSPHQWLQFOXGLQJDOOFRPSXWHUHTXLSPHQWDQG
    FRPPXQLFDWLRQV\VWHPVHTXLSPHQWDQGVRIWZDUH
    /DSWRSV VHUYHUV VZLWFKHV VFUHHQVPRQLWRUV VRIWZDUH HWF
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB      See Global NotesBB

 &ROOHFWLEOHVExamples:$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHU
    DUWZRUNERRNVSLFWXUHVRURWKHUDUWREMHFWVFKLQDDQGFU\VWDOVWDPSFRLQ
    RUEDVHEDOOFDUGFROOHFWLRQVRWKHUFROOHFWLRQVPHPRUDELOLDRUFROOHFWLEOHV
        3DLQWLQJ  1HZ <RUN RIILFH
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB    B See Global Notes    BB
        6HW RI GUHVV SDWWHUQ DUWZRUNV  '& RIILFH
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB    See Global NotesB
        
:RZ
 SULQW  '& RIILFH
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB    See Global Notes

 7RWDORI3DUW
                                                                                                                                
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"

     1R
     ✔


     <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"

     1R
     ✔


     <HV

2IILFLDO)RUP$%                                     6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                SDJH 
            18-11500-shl        Doc 11
               &DPEULGJH$QDO\WLFD//&
                                                 Filed 05/31/18            Entered 05/31/18 23:56:11      Main Document
 'HEWRU                                                                Pg 21 of 34
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH
                                                                                       &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




Part 8:     Machinery, equipment, and vehicles

 'RHVWKHGHEWRURZQRUOHDVHDQ\PDFKLQHU\HTXLSPHQWRUYHKLFOHV"

      1R *RWR3DUW
      ✔


      <HV)LOOLQWKHLQIRUPDWLRQEHORZ

    *HQHUDOGHVFULSWLRQ                                                      1HWERRNYDOXHRI     9DOXDWLRQPHWKRGXVHG    &XUUHQWYDOXHRI
                                                                              GHEWRU
VLQWHUHVW    IRUFXUUHQWYDOXH        GHEWRU¶VLQWHUHVW
    ,QFOXGH\HDUPDNHPRGHODQGLGHQWLILFDWLRQQXPEHUVLH9,1
                                                                              :KHUHDYDLODEOH
    +,1RU1QXPEHU


 $XWRPRELOHVYDQVWUXFNVPRWRUF\FOHVWUDLOHUVDQGWLWOHGIDUPYHKLFOHV

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB


 :DWHUFUDIWWUDLOHUVPRWRUVDQGUHODWHGDFFHVVRULHV([DPSOHV%RDWV
    WUDLOHUVPRWRUVIORDWLQJKRPHVSHUVRQDOZDWHUFUDIWDQGILVKLQJYHVVHOV

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

 $LUFUDIWDQGDFFHVVRULHV

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

 2WKHUPDFKLQHU\IL[WXUHVDQGHTXLSPHQWH[FOXGLQJIDUP
    PDFKLQHU\DQGHTXLSPHQW

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB


 7RWDORI3DUW
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
     $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH



 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
           1R
           <HV

 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
           1R
           <HV




 2IILFLDO)RUP$%                                     6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                              SDJH 
            18-11500-shl        Doc 11
               &DPEULGJH$QDO\WLFD//&
                                                                Filed 05/31/18               Entered 05/31/18 23:56:11      Main Document
'HEWRU          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH
                                                                                           Pg 22 of 34   &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




Part 9:      Real property

 'RHVWKHGHEWRURZQRUOHDVHDQ\UHDOSURSHUW\"
     1R *RWR3DUW
    
    ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ


 $Q\EXLOGLQJRWKHULPSURYHGUHDOHVWDWHRUODQGZKLFKWKHGHEWRURZQVRULQZKLFKWKHGHEWRUKDVDQLQWHUHVW

    'HVFULSWLRQDQGORFDWLRQRISURSHUW\                                 1DWXUHDQGH[WHQW      1HWERRNYDOXHRI    9DOXDWLRQPHWKRGXVHG     &XUUHQWYDOXHRI
    ,QFOXGHVWUHHWDGGUHVVRURWKHUGHVFULSWLRQVXFKDV  RIGHEWRU¶VLQWHUHVW GHEWRU
VLQWHUHVW                    IRUFXUUHQWYDOXH          GHEWRU¶VLQWHUHVW
    $VVHVVRU3DUFHO1XPEHU$31DQGW\SHRISURSHUW\ LQSURSHUW\             :KHUHDYDLODEOH
    IRUH[DPSOHDFUHDJHIDFWRU\ZDUHKRXVHDSDUWPHQW
    RURIILFHEXLOGLQJLIDYDLODEOH
           2IILFH DW  -HIIHUVRQ 'DYLV +LJKZD\ $UOLQJWRQ 9$      \HDU OHDVH           8QNQRZQ                                         8QNQRZQ
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                         BBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                         BBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                         BBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                         BBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                         BBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                         BBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB


 7RWDORI3DUW                                                                                                                               8QNQRZQ
                                                                                                                                                  BBBBBBBBBBBBBBBBBBBBB
    $GGWKHFXUUHQWYDOXHRQOLQHVWKURXJKDQGHQWULHVIURPDQ\DGGLWLRQDOVKHHWV&RS\WKHWRWDOWROLQH

 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
    
    ✔      1R
          <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
    
    ✔      1R
    
    ✔
           <HV

Part 10: Intangibles and intellectual property

 'RHVWKHGHEWRUKDYHDQ\LQWHUHVWVLQLQWDQJLEOHVRULQWHOOHFWXDOSURSHUW\"
     1R *RWR3DUW
    
    ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ


   *HQHUDOGHVFULSWLRQ                                                                          1HWERRNYDOXHRI    9DOXDWLRQPHWKRG          &XUUHQWYDOXHRI
                                                                                                 GHEWRU
VLQWHUHVW   XVHGIRUFXUUHQWYDOXH    GHEWRU¶VLQWHUHVW
                                                                                                 :KHUHDYDLODEOH
 3DWHQWVFRS\ULJKWVWUDGHPDUNVDQGWUDGHVHFUHWV
   7UDGHPDUN6WDQGDUG&KDUDFWHU0DUN&DPEULGJH$QDO\WLFD6HULDO                     8QNQRZQ                                          8QNQRZQ
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB

 ,QWHUQHWGRPDLQQDPHVDQGZHEVLWHV
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB

 /LFHQVHVIUDQFKLVHVDQGUR\DOWLHV
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB

 &XVWRPHUOLVWVPDLOLQJOLVWVRURWKHUFRPSLODWLRQV
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB

 2WKHULQWDQJLEOHVRULQWHOOHFWXDOSURSHUW\
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB
 *RRGZLOO
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB

 7RWDORI3DUW                                                                                                                               8QNQRZQ
                                                                                                                                                  BBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH




2IILFLDO)RUP$%                                                       6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                 SDJH 
           18-11500-shl                Doc 11           Filed 05/31/18     Entered 05/31/18 23:56:11 Main Document
                  &DPEULGJH $QDO\WLFD //&                                                                    
'HEWRU         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 1DPH
                                                                         Pg 23 of 34   &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




 'R\RXUOLVWVRUUHFRUGVLQFOXGHSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQRIFXVWRPHUVDVGHILQHGLQ86&$DQG"
          1R
          <HV
 ,VWKHUHDQDPRUWL]DWLRQRURWKHUVLPLODUVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
          1R
          <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
          1R
          <HV

Part 11: All other assets

 'RHVWKHGHEWRURZQDQ\RWKHUDVVHWVWKDWKDYHQRW\HWEHHQUHSRUWHGRQWKLVIRUP"
    ,QFOXGHDOOLQWHUHVWVLQH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVQRWSUHYLRXVO\UHSRUWHGRQWKLVIRUP
          1R *RWR3DUW
    
    ✔      <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                                 &XUUHQWYDOXHRI
                                                                                                                                   GHEWRU¶VLQWHUHVW
 1RWHVUHFHLYDEOH
    'HVFULSWLRQLQFOXGHQDPHRIREOLJRU
                                                                      BBBBBBBBBBBBBBB ± BBBBBBBBBBBBBBBBBBBBBBBBBB        Î    BBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                      7RWDOIDFHDPRXQW GRXEWIXORUXQFROOHFWLEOHDPRXQW

 7D[UHIXQGVDQGXQXVHGQHWRSHUDWLQJORVVHV12/V

    'HVFULSWLRQIRUH[DPSOHIHGHUDOVWDWHORFDO
    1HW 2SHUDWLQJ /RVVHV 
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               
                                                                                                         7D[\HDU BBBBBBBBBBB    8QNQRZQ
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBB
     1HW 2SHUDWLQJ /RVVHV 
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                     <7'
                                                                                                         7D[\HDU BBBBBBBBBBB    8QNQRZQ
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                         7D[\HDU BBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBB

 ,QWHUHVWVLQLQVXUDQFHSROLFLHVRUDQQXLWLHV
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                               BBBBBBBBBBBBBBBBBBBBBBB

 &DXVHVRIDFWLRQDJDLQVWWKLUGSDUWLHVZKHWKHURUQRWDODZVXLW
    KDVEHHQILOHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                               BBBBBBBBBBBBBBBBBBBBBBB
    1DWXUHRIFODLP                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    $PRXQWUHTXHVWHG                  BBBBBBBBBBBBBBBB

 2WKHUFRQWLQJHQWDQGXQOLTXLGDWHGFODLPVRUFDXVHVRIDFWLRQRI
    HYHU\QDWXUHLQFOXGLQJFRXQWHUFODLPVRIWKHGHEWRUDQGULJKWVWR
    VHWRIIFODLPV
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                               BBBBBBBBBBBBBBBBBBBBBBB

    1DWXUHRIFODLP                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    $PRXQWUHTXHVWHG                  BBBBBBBBBBBBBBBB

 7UXVWVHTXLWDEOHRUIXWXUHLQWHUHVWVLQSURSHUW\

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                BBBBBBBBBBBBBBBBBBBBB

 2WKHUSURSHUW\RIDQ\NLQGQRWDOUHDG\OLVWHGExamples:6HDVRQWLFNHWV
    FRXQWU\FOXEPHPEHUVKLS
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                   BBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                   BBBBBBBBBBBBBBBBBBBBB

 7RWDORI3DUW
                                                                                                                                   8QNQRZQ
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
    
    ✔
           1R
          <HV

2IILFLDO)RUP$%                                         6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                               SDJH 
            18-11500-shl        Doc 11
               &DPEULGJH$QDO\WLFD//&                        Filed 05/31/18                 Entered 05/31/18 23:56:11      Main Document
'HEWRU          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH
                                                                                           Pg 24 of 34   &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




Part 12:         Summary



,Q3DUWFRS\DOORIWKHWRWDOVIURPWKHHDUOLHUSDUWVRIWKHIRUP


       7\SHRISURSHUW\                                                                               &XUUHQWYDOXHRI                         &XUUHQWYDOXH
                                                                                                      SHUVRQDOSURSHUW\                        RIUHDOSURSHUW\
                                                                                                          
 &DVKFDVKHTXLYDOHQWVDQGILQDQFLDODVVHWVCopy line 5, Part 1.                                   BBBBBBBBBBBBBBB

                                                                                                          
 'HSRVLWVDQGSUHSD\PHQWVCopy line 9, Part 2.                                                       BBBBBBBBBBBBBBB

                                                                                                          
 $FFRXQWVUHFHLYDEOHCopy line 12, Part 3.                                                           BBBBBBBBBBBBBBB

                                                                                                          1$
 ,QYHVWPHQWVCopy line 17, Part 4.                                                                   BBBBBBBBBBBBBBB

                                                                                                          1$
 ,QYHQWRU\Copy line 23, Part 5.                                                                     BBBBBBBBBBBBBBB

                                                                                                          1$
 )DUPLQJDQGILVKLQJUHODWHGDVVHWV Copy line 33, Part 6.                                            BBBBBBBBBBBBBBB

 2IILFHIXUQLWXUHIL[WXUHVDQGHTXLSPHQWDQGFROOHFWLEOHV                                          
                                                                                                         BBBBBBBBBBBBBBB
     Copy line 43, Part 7.
                                                                                                          1$
 0DFKLQHU\HTXLSPHQWDQGYHKLFOHVCopy line 51, Part 8.                                            BBBBBBBBBBBBBBB

                                                                                                                                                 8QNQRZQ
                                                                                                                                                BBBBBBBBBBBBBBBB
 5HDOSURSHUW\Copy line 56, Part 9. .Î
                                                                                                          8QNRZQ
 ,QWDQJLEOHVDQGLQWHOOHFWXDOSURSHUW\ Copy line 66, Part 10.                                        BBBBBBBBBBBBBBB

                                                                                                          8QNQRZQ
 $OORWKHUDVVHWV Copy line 78, Part 11.                                                        +    BBBBBBBBBBBBBBB

                                                                                                                                        8QNQRZQ
 7RWDO$GGOLQHVWKURXJKIRUHDFKFROXPQD                    BBBBBBBBBBBBBBB            +   E
                                                                                                                                                BBBBBBBBBBBBBBBB




                                                                                                                                                                     
 7RWDORIDOOSURSHUW\RQ6FKHGXOH$%/LQHVDE    BBBBBBBBBBBBBBBBBB




2IILFLDO)RUP$%                                                      6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                                SDJH 
    18-11500-shl       Doc 11       Filed 05/31/18     Entered 05/31/18 23:56:11             Main Document
                                                     Pg 25 of 34

                                             /ŶƌĞĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
                                                   ĂƐĞEŽ͘ϭϴͲϭϭϱϬϬ
         ^ĐŚĞĚƵůĞͬ͗WĂƌƚϭ͕YƵĞƐƚŝŽŶϯͲŚĞĐŬŝŶŐ͕ƐĂǀŝŶŐƐ͕ŵŽŶĞǇŵĂƌŬĞƚ͕ŽƌĨŝŶĂŶĐŝĂůďƌŽŬĞƌĂŐĞĂĐĐŽƵŶƚƐ
   EĂŵĞŽĨ/ŶƐƚŝƚƵƚŝŽŶ
                              dǇƉĞŽĨĐĐŽƵŶƚ   >ĂƐƚϰŝŐŝƚƐŽĨĐĐŽƵŶƚEƵŵďĞƌ    ƵƌƌĞŶƚsĂůƵĞŽĨĞďƚŽƌ͛Ɛ/ŶƚĞƌĞƐƚ
 ;ďĂŶŬŽƌďƌŽŬĞƌĂŐĞĨŝƌŵͿ
ŚĂƐĞĂŶŬ                  ƵƐŝŶĞƐƐŚĞĐŬŝŶŐ                               ϳϯϳϭ                               Ψϯϯϲ͘ϯϱ
ŚĂƐĞĂŶŬ                  ZĞƐĞƌǀĞŚĞĐŬŝŶŐ                                ϳϯϴϵ                                   Eͬ
ŚĂƐĞĂŶŬ                  ƵƐŝŶĞƐƐ^ĂǀŝŶŐƐ                                ϮϱϮϬ                                   Eͬ
ŝƚǇEĂƚŝŽŶĂůĂŶŬ          ZĞƐĞƌǀĞŚĞĐŬŝŶŐ                                ϵϳϴϮ                               Ψϳϳϯ͘ϬϬ
ŚĂƐĞĂŶŬ                  ƵƐŝŶĞƐƐŚĞĐŬŝŶŐ                               ϱϱϭϮ                               ΨϮϮϱ͘ϴϭ
ŚĂƐĞĂŶŬ                  ZĞƐĞƌǀĞŚĞĐŬŝŶŐ                                ϱϱϭϯ                               Ψϭϲϳ͘ϵϮ
ŚĂƐĞĂŶŬ                  ƵƐŝŶĞƐƐ^ĂǀŝŶŐƐ                                ϱϱϳϵ                                   Eͬ
            18-11500-shl                  Doc 11                Filed 05/31/18           Entered 05/31/18 23:56:11                        Main Document
  )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH
                                                                                       Pg 26 of 34
                     Cambridge Analytica LLC
  'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            Southern
  8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB              NY
                                                                  'LVWULFWRIBBBBBBBBB
                                                                                             6WDWH
                                18-115006+/
  &DVHQXPEHU,INQRZQ     BBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                         &KHFNLIWKLVLVDQ
                                                                                                                                                            DPHQGHGILOLQJ
 2IILFLDO)RUP'
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              
 %HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH

  'RDQ\FUHGLWRUVKDYHFODLPVVHFXUHGE\GHEWRU¶VSURSHUW\"
    
    ; 1R&KHFNWKLVER[DQGVXEPLWSDJHRIWKLVIRUPWRWKHFRXUWZLWKGHEWRU¶VRWKHUVFKHGXOHV'HEWRUKDVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
     <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZ
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                   Column A                 Column B
  /LVWLQDOSKDEHWLFDORUGHUDOOFUHGLWRUVZKRKDYHVHFXUHGFODLPV,IDFUHGLWRUKDVPRUHWKDQRQH
    VHFXUHGFODLPOLVWWKHFUHGLWRUVHSDUDWHO\IRUHDFKFODLP                                                                    $PRXQWRIFODLP          9DOXHRIFROODWHUDO
                                                                                                                                   'RQRWGHGXFWWKHYDOXH WKDWVXSSRUWVWKLV
                                                                                                                                   RIFROODWHUDO           FODLP
 &UHGLWRU¶VQDPH                                                'HVFULEHGHEWRU¶VSURSHUW\WKDWLVVXEMHFWWRDOLHQ
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBB                  BBBBBBBBBBBBBBBBB

    &UHGLWRU¶VPDLOLQJDGGUHVV                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      'HVFULEHWKHOLHQ
                                                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    &UHGLWRU¶VHPDLODGGUHVVLINQRZQ                            ,VWKHFUHGLWRUDQLQVLGHURUUHODWHGSDUW\"
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                      1R
                                                                      <HV

    'DWHGHEWZDVLQFXUUHG BBBBBBBBBBBBBBBBBB                     ,VDQ\RQHHOVHOLDEOHRQWKLVFODLP"
                                                                      1R
    /DVWGLJLWVRIDFFRXQW
    QXPEHU                     BBBBBBBBBBBB
                                                                      <HV)LOORXWSchedule H: Codebtors2IILFLDO)RUP+

    'RPXOWLSOHFUHGLWRUVKDYHDQLQWHUHVWLQWKH                 $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
    VDPHSURSHUW\"                                                 &KHFNDOOWKDWDSSO\
     1R                                                              &RQWLQJHQW
     <HV6SHFLI\HDFKFUHGLWRULQFOXGLQJWKLVFUHGLWRU           8QOLTXLGDWHG
             DQGLWVUHODWLYHSULRULW\                               'LVSXWHG
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

 &UHGLWRU¶VQDPH                                                'HVFULEHGHEWRU¶VSURSHUW\WKDWLVVXEMHFWWRDOLHQ
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBB                 BBBBBBBBBBBBBBBBB 

    &UHGLWRU¶VPDLOLQJDGGUHVV                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      'HVFULEHWKHOLHQ
                                                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    &UHGLWRU¶VHPDLODGGUHVVLINQRZQ                            ,VWKHFUHGLWRUDQLQVLGHURUUHODWHGSDUW\"
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                      1R
                                                                      <HV

    'DWHGHEWZDVLQFXUUHG BBBBBBBBBBBBBBBBBB                     ,VDQ\RQHHOVHOLDEOHRQWKLVFODLP"
                                                                      1R
    /DVWGLJLWVRIDFFRXQW
    QXPEHU                     BBBBBBBBBBBB
                                                                      <HV)LOORXWSchedule H: Codebtors2IILFLDO)RUP+

    'RPXOWLSOHFUHGLWRUVKDYHDQLQWHUHVWLQWKH                 $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
    VDPHSURSHUW\"                                                 &KHFNDOOWKDWDSSO\

     1R                                                              &RQWLQJHQW
     <HV+DYH\RXDOUHDG\VSHFLILHGWKHUHODWLYH                    8QOLTXLGDWHG
             SULRULW\"                                                'LVSXWHG
            1R 6SHFLI\HDFKFUHGLWRULQFOXGLQJWKLV
                  FUHGLWRUDQGLWVUHODWLYHSULRULW\
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            <HV7KHUHODWLYHSULRULW\RIFUHGLWRUVLV
                  VSHFLILHGRQOLQHVBBBBB

  7RWDO RIWKHGROODUDPRXQWVIURP3DUW&ROXPQ$LQFOXGLQJWKHDPRXQWVIURPWKH$GGLWLRQDO                                   BBBBBBBBBBBBBBBB
    3DJHLIDQ\


 2IILFLDO)RUP'                             6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                                 SDJHRIBBB
              18-11500-shl                 Doc 11             Filed 05/31/18               Entered 05/31/18 23:56:11                    Main Document
   )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH                                       Pg 27 of 34
   'HEWRU           &DPEULGJH $QDO\WLFD //&
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                            6RXWKHUQ 'LVWULFW
   8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB             1HZ <RUN
                                                                   'LVWULFWRIBBBBBBBBBB
                                                                                               6WDWH
                 
   &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
   ,INQRZQ

                                                                                                                                                     &KHFNLIWKLVLVDQ
                                                                                                                                                        DPHQGHGILOLQJ
  2IILFLDO)RUP()
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               
  %HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH8VH3DUWIRUFUHGLWRUVZLWK35,25,7<XQVHFXUHGFODLPVDQG3DUWIRUFUHGLWRUVZLWK12135,25,7<
  XQVHFXUHGFODLPV /LVWWKHRWKHUSDUW\WRDQ\H[HFXWRU\FRQWUDFWVRUXQH[SLUHGOHDVHVWKDWFRXOGUHVXOWLQDFODLP$OVROLVWH[HFXWRU\FRQWUDFWV
  RQ Schedule A/B: Assets - Real and Personal Property 2IILFLDO)RUP$%) DQGRQSchedule G: Executory Contracts and Unexpired Leases
  2IILFLDO)RUP*1XPEHUWKHHQWULHVLQ3DUWVDQGLQWKHER[HVRQWKHOHIW,IPRUHVSDFHLVQHHGHGIRU3DUWRU3DUWILOORXWDQGDWWDFK
  WKH$GGLWLRQDO3DJHRIWKDW3DUWLQFOXGHGLQWKLVIRUP

 Part 1:          List All Creditors with PRIORITY Unsecured Claims

  'RDQ\FUHGLWRUVKDYHSULRULW\XQVHFXUHGFODLPV"6HH86&
    
    ✔    1R*RWR3DUW
        <HV*RWROLQH

  /LVWLQDOSKDEHWLFDORUGHUDOOFUHGLWRUVZKRKDYHXQVHFXUHGFODLPVWKDWDUHHQWLWOHGWRSULRULW\LQZKROHRULQSDUW,IWKHGHEWRUKDVPRUHWKDQ
    FUHGLWRUVZLWKSULRULW\XQVHFXUHGFODLPVILOORXWDQGDWWDFKWKH$GGLWLRQDO3DJHRI3DUW

                                                                                                                        7RWDOFODLP                3ULRULW\DPRXQW
 3ULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB   Check all that apply
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              &RQWLQJHQW
                                                                              8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               'LVSXWHG
    'DWHRUGDWHVGHEWZDVLQFXUUHG                                        %DVLVIRUWKHFODLP
                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    /DVWGLJLWVRIDFFRXQW                                             ,VWKHFODLPVXEMHFWWRRIIVHW"
    QXPEHU BBBBBBBBBBBB                                               1R
                                                                            <HV
    6SHFLI\ &RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
    FODLP86&DBBBBB


 3ULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB   Check all that apply
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              &RQWLQJHQW
                                                                              8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               'LVSXWHG
    'DWHRUGDWHVGHEWZDVLQFXUUHG                                        %DVLVIRUWKHFODLP
                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    /DVWGLJLWVRIDFFRXQW                                             ,VWKHFODLPVXEMHFWWRRIIVHW"
    QXPEHU BBBBBBBBBBBB                                               1R
                                                                            <HV
    6SHFLI\ &RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
    FODLP86&DBBBBB


 3ULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB   Check all that apply
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              &RQWLQJHQW
                                                                              8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               'LVSXWHG
    'DWHRUGDWHVGHEWZDVLQFXUUHG                                        %DVLVIRUWKHFODLP
                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    /DVWGLJLWVRIDFFRXQW                                             ,VWKHFODLPVXEMHFWWRRIIVHW"
    QXPEHU BBBBBBBBBBBB                                               1R
                                                                            <HV
    6SHFLI\ &RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
    FODLP86&DBBBBB




  2IILFLDO)RUP()                                        6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                        SDJHRIBBB
  'HEWRU
            18-11500-shl        Doc //&
                &DPEULGJH $QDO\WLFD    11 Filed 05/31/18 Entered 05/31/18
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                                                                             &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH                                             Pg 28 of 34
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

  /LVWLQDOSKDEHWLFDORUGHUDOORIWKHFUHGLWRUV ZLWKQRQSULRULW\XQVHFXUHGFODLPV,IWKHGHEWRUKDVPRUHWKDQFUHGLWRUVZLWKQRQSULRULW\
    XQVHFXUHGFODLPVILOORXWDQGDWWDFKWKH$GGLWLRQDO3DJHRI3DUW
                                                                                                                             $PRXQWRIFODLP

 1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     6HH 6FKHGXOH () 3DUW  4XHVWLRQ  $WWDFKPHQW
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                                                                              &RQWLQJHQW
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                                                                           %DVLVIRUWKHFODLP BBBBBBBBBBBBBBBBBBBBBBBB

    'DWHRUGDWHVGHEWZDVLQFXUUHG           BBBBBBBBBBBBBBBBBBB         ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                              1R
    /DVWGLJLWVRIDFFRXQWQXPEHU           BBBBBBBBBBBB                <HV

 1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                           Check all that apply                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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    /DVWGLJLWVRIDFFRXQWQXPEHU           BBBBBBBBBBBB                <HV

 1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                           Check all that apply                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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 1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                           Check all that apply                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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    'DWHRUGDWHVGHEWZDVLQFXUUHG           BBBBBBBBBBBBBBBBBBB         ,VWKHFODLPVXEMHFWWRRIIVHW"
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    /DVWGLJLWVRIDFFRXQWQXPEHU           BBBBBBBBBBBB                <HV

 1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
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 1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
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  2IILFLDO)RUP()                         6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                             SDJHBBRIBBB
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              1DPH                                             Pg 29 of 34
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


 $GGWKHDPRXQWVRISULRULW\DQGQRQSULRULW\XQVHFXUHGFODLPV




                                                                                                            7RWDORIFODLPDPRXQWV



D 7RWDOFODLPVIURP3DUW                                                                   D   
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E 7RWDOFODLPVIURP3DUW                                                                   E   
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F 7RWDORI3DUWVDQG
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   /LQHVDE F         




 2IILFLDO)RUP()                    6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                      SDJHBBRIBBB
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                                                                                                      /ŶƌĞĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
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                                                                                                                                                                                                                                              ůĂŝŵƐƐƵďũĞĐƚƚŽŽĨĨƐĞƚ͍
                                                                                                                                                                                             hŶůŝƋƵŝĚĂƚĞĚ
                                                                                                                                                                                ŽŶƚŝŶŐĞŶƚ


                                                                                                                                                                                                            ŝƐƉƵƚĞĚ
          EŽŶƉƌŝŽƌŝƚǇƌĞĚŝƚŽƌEĂŵĞ                      ĚĚƌĞƐƐ              ŝƚǇ       ^ƚĂƚĞ;ŽƵŶƚƌǇͿ      ŝƉ      ĂƚĞĞďƚ/ŶĐƵƌƌĞĚ   >ĂƐƚϰŝŐŝƚƐŽĨĐĐŽƵŶƚEƵŵďĞƌ                                               ĂƐŝƐĨŽƌĐůĂŝŵ                                 ŵŽƵŶƚŽĨĐůĂŝŵ




ĂƚĂǁĂƚĐŚ^ǇƐƚĞŵƐ                                 WKŽǆϳϵϴϰϱ           ĂůƚŝŵŽƌĞ      D                     ϮϭϮϳϵ           ϭͬϯϭͬϮϬϭϴ Eͬ                                                                           dƌĂĚĞW             EŽ                                   ΨϴϬϴ͘ϵϬ
>WĂƌŬŝŶŐ                                       WKŽǆϳϱϵϯϭϭ          ĂůƚŝŵŽƌĞ      D                     ϮϭϮϳϱ           ϮͬϭϯͬϮϬϭϴ Eͬ                                                                           dƌĂĚĞW             EŽ                                   ΨϳϱϬ͘ϬϬ
Eds/'KhZ                                        WKŽǆϴϲ             &ŽƌĞƐƚ,ŝůů    D                     ϮϭϬϱϬ            ϯͬϭͬϮϬϭϴ Eͬ                                                                           dƌĂĚĞW             EŽ                                  Ψϰ͕ϱϯϯ͘ϴϬ
WƌĞƐŝĚĞŶƚŝĂůdŽǁĞƌWƌŽƉĞƌƚǇ>>                   WKŽǆϳϰϯϳϰϲ          ƚůĂŶƚĂ        '                     ϯϬϯϳϰ            ϭͬϭͬϮϬϭϴ Eͬ                                                                           KĨĨŝĐĞ>ĞĂƐĞ         EŽ                                ΨϭϬ͕ϲϱϰ͘ϭϵ
                                                        ƚŚ
dŚĞŝƐƚƌŝĐƚŽŵŵƵŶŝĐĂƚŝŽŶƐ'ƌŽƵƉ͕>>            ϮϭϲϭϮ ^ƚƌĞĞƚ^      tĂƐŚŝŶŐƚŽŶ                         ϮϬϬϬϯ           ϰͬϮϮͬϮϬϭϴ Eͬ                                                                           dƌĂĚĞW             EŽ                                  Ψϰ͕ϴϮϱ͘ϬϬ
ŵĞƌĚĂƚĂ>ŝŵŝƚĞĚ                                  ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ   >ŽŶĚŽŶ         h<                 tϭϭ^               sĂƌŝŽƵƐ Eͬ                                                                          >ŽĂŶƐĂŶĚƌƌĞĂƌƐ    zĞƐ                             Ψϴ͕ϳϲϳ͕ϳϮϬ͘ϬϬ
                                            ΀ϭ΁
^>ůĞĐƚŝŽŶƐ>ŝŵŝƚĞĚ;ŝŶĚŵŝŶŝƐƚƌĂƚŝŽŶͿ         ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ   >ŽŶĚŽŶ         h<                 tϭϭ^               sĂƌŝŽƵƐ Eͬ                                  ǆ             ǆ              ǆ          >ŽĂŶƐĂŶĚƌƌĞĂƌƐ    zĞƐ                                  hŶŬŶŽǁŶ
                                                                                                                                                                                                                                            dŽƚĂů͗                         Ψϴ͕ϳϴϵ͕Ϯϵϭ͘ϴϵ


 &ŽŽƚŶŽƚĞ͗
 ΀ϭ΁͗ dŚŝƐĞŶƚŝƚǇŝƐŝŶĂĚŵŝŶŝƐƚƌĂƚŝŽŶƉƌŽĐĞĞĚŝŶŐƐŝŶƚŚĞhŶŝƚĞĚ<ŝŶŐĚŽŵĂŶĚsŝŶĐĞ'ƌĞĞŶŽĨƌŽǁĞůĂƌŬtŚŝƚĞŚŝůů>>WŚĂƐďĞĞŶĂƉƉŽŝŶƚĞĚĂƚŚĞĂĚŵŝŶŝƐƚƌĂƚŽƌďǇdŚĞ,ŝŐŚŽƵƌƚŽĨ:ƵƐƚŝĐĞ͕
 ƵƐŝŶĞƐƐĂŶĚWƌŽƉĞƌƚǇŽƵƌƚƐŽĨŶŐůĂŶĚĂŶĚtĂůĞƐ͕ĂŶĚ/ŶƐŽůǀĞŶĐǇĂŶĚŽŵƉĂŶŝĞƐ>ŝƐƚ;ŚͿ͘
           18-11500-shl             Doc 11        Filed 05/31/18           Entered 05/31/18 23:56:11                      Main Document
                                                                         Pg 31 of 34
 Fill in this information to identify the case:

                  Cambridge Analytica LLC
 Debtor name __________________________________________________________________

                                           Southern
 United States Bankruptcy Court for the:______________________ District of        NY
                                                                               _______
                                                                              (State)
 Case number (If known):        18-11500
                            _________________________                          7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       x
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or         Office Lease (Arlington, VA)
                                          ____________________________________                 Presidential Tower Property LLC
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________                 c/o Beacon Capital Partners, LLC
                                                                                           _________________________________________________________
                                                                                               200 State Street, 5th Floor
                                                                                           _________________________________________________________
         State the term remaining            55 Months (66 MonthWHUP)
                                          ____________________________________                 Boston, MA 02109
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or            Payroll Services
                                          ____________________________________                  Paychex Business Solutions
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
                                          ____________________________________                  970 Lake Carillon Drive
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                N/A - Auto Renew                                 Suite 400
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                                 St Petersburg, FL 33716
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or          Data Monitoring Services
                                          ____________________________________                    Datawatch
                                                                                           _________________________________________________________
 2.3     lease is for and the nature
                                          ____________________________________                     4401 East West Highway
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                 0 Months        (1 Year Term)                     Suite 500
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                                   Bethesda, MD 20814
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or             Enterprise Software
                                          ____________________________________                         Deltek Inc.
                                                                                           _________________________________________________________
 2.4
         lease is for and the nature
                                          ____________________________________                         P.O Box 79581
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                    10 Months (2 Year Term)                             Baltimore, MD 21279
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or               IT Support Services
                                          ____________________________________                           Net Vigour
                                                                                           _________________________________________________________
 2.5     lease is for and the nature                                                                          32%R[
         of the debtor’s interest         ____________________________________
                                                                                           _________________________________________________________
                                                     21 Months (2 Year Term)                             )RUHVW+LOO0'
         State the term remaining         ____________________________________
         List the contract number of                                                        ________________________________________________________
         any government contract          ____________________________________
                                                                                           _




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
           18-11500-shl             Doc 11       Filed 05/31/18     Entered 05/31/18 23:56:11                Main Document
                                                                  Pg 32 of 34
Debtor                    Cambridge Analytica LLC
               _______________________________________________________                                          18-11500
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or         Employee Parking
                                       ____________________________________            LAZ Parking
                                                                                _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________              1125 15th St NW
                                                                                _________________________________________________________

                                               Monthly Auto Renew                        Suite 400
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                        Washington, DC 20005
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
            18-11500-shl             Doc 11         Filed 05/31/18            Entered 05/31/18 23:56:11                      Main Document
                                                                            Pg 33 of 34
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 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKHBBBBBBBBBBBBBBBBBBBBBBB
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  &DVHQXPEHU,INQRZQ BBBBBBBBBBBB




                                                                                                                                           &KHFNLIWKLVLVDQ
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2IILFLDO)RUP+
Schedule H: Codebtors                                                                                                                                     

%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IPRUHVSDFHLVQHHGHGFRS\WKH$GGLWLRQDO3DJHQXPEHULQJWKHHQWULHVFRQVHFXWLYHO\$WWDFK
WKH$GGLWLRQDO3DJHWRWKLVSDJH


  'RHVWKHGHEWRUKDYHDQ\FRGHEWRUV"
           1R&KHFNWKLVER[DQGVXEPLWWKLVIRUPWRWKHFRXUWZLWKWKHGHEWRU
VRWKHUVFKHGXOHV1RWKLQJHOVHQHHGVWREHUHSRUWHGRQWKLVIRUP
        
        ✔   <HV

  ,Q&ROXPQOLVWDVFRGHEWRUVDOORIWKHSHRSOHRUHQWLWLHVZKRDUHDOVROLDEOHIRUDQ\GHEWVOLVWHGE\WKHGHEWRULQWKHVFKHGXOHVRI
        FUHGLWRUV Schedules D-G,QFOXGHDOOJXDUDQWRUVDQGFRREOLJRUV,Q&ROXPQLGHQWLI\WKHFUHGLWRUWRZKRPWKHGHEWLVRZHGDQGHDFK
        VFKHGXOHRQZKLFKWKHFUHGLWRULVOLVWHG,IWKHFRGHEWRULVOLDEOHRQDGHEWWRPRUHWKDQRQHFUHGLWRUOLVWHDFKFUHGLWRUVHSDUDWHO\LQ&ROXPQ

         Column 1:&RGHEWRU                                                                               Column 2:&UHGLWRU

                                                                                                                                              Check all schedules
             1DPH                      0DLOLQJDGGUHVV                                                    1DPH
                                                                                                                                              that apply:
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       $GPLQLVWUDWLRQ                 6WUHHW                                                                                                 ()
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2IILFLDO)RUP+                                               6FKHGXOH+&RGHEWRUV                                                        SDJHRIBBB
         18-11500-shl               Doc 11             Filed 05/31/18      Entered 05/31/18 23:56:11                   Main Document
                                                                         Pg 34 of 34
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVHDQGWKLVILOLQJ


                &DPEULGJH $QDO\WLFD //&
 'HEWRU1DPHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            6RXWKHUQ                            1HZ <RUN
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB 'LVWULFWRIBBBBBBBBBB
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 &DVHQXPEHUIf known
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                            BBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    

$QLQGLYLGXDOZKRLVDXWKRUL]HGWRDFWRQEHKDOIRIDQRQLQGLYLGXDOGHEWRUVXFKDVDFRUSRUDWLRQRUSDUWQHUVKLSPXVWVLJQDQGVXEPLW
WKLVIRUPIRUWKHVFKHGXOHVRIDVVHWVDQGOLDELOLWLHVDQ\RWKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQWKDWLVQRWLQFOXGHGLQWKHGRFXPHQW
DQGDQ\DPHQGPHQWVRIWKRVHGRFXPHQWV7KLVIRUPPXVWVWDWHWKHLQGLYLGXDO¶VSRVLWLRQRUUHODWLRQVKLSWRWKHGHEWRUWKHLGHQWLW\RIWKH
GRFXPHQWDQGWKHGDWH%DQNUXSWF\5XOHVDQG

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&
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            Declaration and signature



         ,DPWKHSUHVLGHQWDQRWKHURIILFHURUDQDXWKRUL]HGDJHQWRIWKHFRUSRUDWLRQDPHPEHURUDQDXWKRUL]HGDJHQWRIWKHSDUWQHUVKLSRU
         DQRWKHULQGLYLGXDOVHUYLQJDVDUHSUHVHQWDWLYHRIWKHGHEWRULQWKLVFDVH

         ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKHGRFXPHQWVFKHFNHGEHORZDQG,KDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW


         
         ;    Schedule A/B: Assets–Real and Personal Property2IILFLDO)RUP$%

         
         ;    Schedule D: Creditors Who Have Claims Secured by Property2IILFLDO)RUP'

         
         ;    Schedule E/F: Creditors Who Have Unsecured Claims2IILFLDO)RUP()

         
         ;    Schedule G: Executory Contracts and Unexpired Leases2IILFLDO)RUP*

         
         ;    Schedule H: Codebtors 2IILFLDO)RUP+

         
         ;    Summary of Assets and Liabilities for Non-Individuals2IILFLDO)RUP6XP

             $PHQGHG ScheduleBBBB


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders2IILFLDO)RUP


             2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




        ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

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                                                                 3RVLWLRQRUUHODWLRQVKLSWRGHEWRU



2IILFLDO)RUP                             'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV
